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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NORTH DAKOTA

In Re:                                           Case No. 17-30112

VANITY SHOP OF GRAND FORKS,                      Chapter 11 Case
INC.,
                                                     NOTICE OF APPEARANCE AND
                                                      REQUEST FOR NOTICE AND
              Debtor.
                                                         SERVICE OF PAPERS

         PLEASE TAKE NOTICE that Luis Salazar, as Consumer Privacy Ombudsman,
  pursuant to Federal Rule of Bankruptcy Procedure 9010, requests that all notices (including
  those required by Rule 2002) in this case or any related proceeding be mailed to
  undersigned counsel unless otherwise directed by the Court, at the address set forth below.
         PLEASE TAKE FURTHER NOTICE that request is also made for service of
  copies of all papers, including but not limited to reports, pleadings, motions, applications
  or petitions, schedules, and answering or reply papers filed in the above-captioned case or
  any related adversary proceedings by providing a copy of each, unless otherwise directed
  by the Court, to the following:
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                                 Facsimile: (305) 397-1021
                                   Email: Luis@Salazar.Law
   Dated: November 6, 2017               Respectfully submitted,
                                         SALAZAR LAW
                                         Consumer Privacy Ombudsman
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                                         By:     /s/ Luis Salazar
                                                   Luis Salazar
                                                   Florida Bar No. 147788
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                             CERTIFICATE OF SERVICE

           I hereby certify that on November 6, 2017 I electronically filed the foregoing
    document with the Clerk of the Court using CM/ECF. I also certify that the
    foregoing document is being served this day on all parties entitled to service through
    the Notices of Electronic Filing generated by CM/ECF in this case.


                                                          /s/ Luis Salazar
                                                          Luis Salazar
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